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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

						

BENJAMIN GONZALEZ SOTO, JR.,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

____________________________________________________________


On appeal from the 275th District Court of Hidalgo County, Texas.


____________________________________________________________


MEMORANDUM OPINION



Before Justices Yañez, Garza, and Vela 


Memorandum Opinion Per Curiam



	Appellant, Benjamin Gonzalez Soto, Jr., by and through his attorney, has filed a
motion to dismiss his appeal because he no longer desires to prosecute it.  See Tex. R.
App. P. 42.2(a).  Without passing on the merits of the case, we grant the motion to dismiss
pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having
dismissed the appeal at appellant's request, no motion for rehearing will be entertained,
and our mandate will issue forthwith.

								PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).  

Memorandum Opinion delivered and filed

this the 5th day of February, 2009.


